Case 9:20-cr-80013-KAM Document 1 Entered on FLSD Docket 01/30/2020 Page 1of 8

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CaseNo, RO-BeEO!3-CR-MaRRA /MaATTHEWMAN

26 U.S.C. §7201
31 U.S.C. §5314
31 U.S.C. §5322

 

 

 

 

 

 

 

18 U.S.C. §2 —
UNITED STATES OF AMERICA,
Plaintiff, eee
: FILED BY [Az D.C.
vs. . ;
DUSKO BRUER, -. JAN 30 2020
ANGELA E. NOBLE.
CLERK U.S. DIST. CT.
S.D. OF FLA. — W.P.B.
Defendant.
| /
INFORMATION

The United States Attorney charges that:

GENERAL ALLEGATIONS

At all times relevant to this Information:

1, The defendant, DUSKO BRUER (“Defendant” or “Bruer’), was a naturalized
citizen of the United States and a resident of Palm Beach County. |

2. The Internal Revenue Service (“IRS”) was an agency of the United States
Department of the Treasury responsible for administering the federal tax laws of the United
States, and collecting taxes owed to the United States.

3, United States taxpayers who had income in excess of a certain amount were

obligated to file an individual income tax return with the United States Internal Revenue Service
Case 9:20-cr-80013-KAM Document 1 Entered on FLSD Docket 01/30/2020 Page 2 of 8

(“IRS”). On said return, United States taxpayers were obligated to report their worldwide
income. Additionally citizens and residents of the United States who had a financial interest in,.
-or signature or other authority over a financial account in a foreign country were required to
disclose the existence of such account on Schedule B, Part III of their individual income tax
return. . |

4, Pursuant to Title 31, Code of Federal Regulations, Sections 103.24, 103.27(c),
103.27(d) and 103.59(b), recodified at Title 31, Code of Federal Regulations, Section 1010.350,
citizens and residents of the United States who had a financial interest in, or signature authority
over, one or more bank, securities and other financial accounts in a foreign country with an
aggregate value of more than $10,000 at any time during a particular year were required to report
such a relationship to the Financial Crimes Enforcement Network, a bureau of the United States :
Department of the Treasury, on a Report of Foreign Bank and Financial Accounts on FinCEN
Report 114 (formerly TD F 90.22-1) (an “FBAR”). The FBAR for the 2014 calendar year was
due by June 30, 2015. |

5. During the calendar year 2008, BRUER received approximately $2,592,000 in
income. |

6. During the calendar year 2014, BRUER had a financial interest in, and signature
and other authority over, at least six financial accounts, having an aggregate value of
approximately $1,817,866 at financial institutions in Croatia, Germany, and Switzerland.

7. On or about October 18, 2016, BRUER filed a false IRS Form 1040EZ, Income
Tax Return for Single and Joint Filers with No Dependents, for calendar year 2008 on which he

reported “zero” income and claimed that he resided in Dubrovnik, Croatia.
Case 9:20-cr-80013-KAM | Document 1 Entered on FLSD Docket 01/30/2020 Page 3 of 8

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COUNT 1

ATTEMPT TO EVADE OR DEFEAT TAX:
_ (26 U.S.C. §7201)

1. Paragraphs 1 through 7 of the General Allegations section of this Information are
realleged and incorporated fully herein by reference.

2. ’ Between on or about January A, 2008 and on on about October 16, 2016, in Palm
Beach County, in the Southern District of Florida, and elsewhere, the defendant,

DUSKO BRUER, |
a resident of Palm Beach County, Florida, did willfully attempt to evade and defeat income tax
due and owing by him to the United States of America, for the calendar year 2008, by committing
the following affirmative acts, among others: the concealment of assets and income in foreign
financial accounts; paying personal expenses from corporate. funds; and preparing and causing to
be prepared, and signing and causing to be signed, a false and fraudulent IRS Form 1040EZ,

Income Tax Return. for Single and Joint Filers with No Dependents, for calendar year 2008 on
which he reported “zero” income on or about October 18, 2016 which was submitted to the Internal
Revenue Service.

All in violation of Title 26, United States Code, Section 7201 and Title 18, United States

Code, Section 2.
Case 9:20-cr-80013-KAM Document 1 Entered on FLSD Docket 01/30/2020 Page 4 of 8

COUNT 2

FAILURE TO FILE A REPORT OF FOREIGN BANK OR FINANCIAL ACCOUNT |
(31 U.S.C. § § 5314, 5322)

1, Paragraphs 1 through 7 of the General Allegations section of this Information are
realleged and incorporated fully herein by reference. -
2. On or before June 30, 2015, within the Southern District of Florida and elsewhere,
the defendant |
DUSKO BRUER,
did knowingly and willfully fail to file with the Financial Crimes Enforcement Network, a
bureau of the United States Department of the Treasury, an FBAR disclosing that he had a
financial interest in, and signature and other authority over, a bank, securities and other financial
accounts in a foreign country, to wit: financial and bank accounts in Croatia, Germany, and
Switzerland, which accounts had an aggregate value of more than $10,000 during the year 2014,
as part of a pattern of illegal activity involving more than §100, 000 ina 12 month period.
All in violation of Title 31, United States Code, Sections 5314 and 5322(b); and Title 31
Code of Federal Regulations, Sections 1010. 350, 1010.306(c)-(d) & 1010.840(b) (former Title

31 Code of Federal Regulations, Sections 103.24, 103 21(0)- (d) & 103.59(b)).

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7 ARIANA FAJARDO QRSHAN RICHARD E. ZUCKERMAN
UNITED STATES ATTORNEY PRINCIPAL DEPUTY ASSISTANT
ATTORNEY GENERAL
TAX DIVISION
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AURORA FAGAN MARK F. DALY Kunth
ASSISTANT U.S. ATTORNEY _ SENIOR LITIGATI SEL

TAX DIVISION
Gase 9:20-cr-80013-KAM Document 1 Entered on FLSD Docket 01/30/2020 Page 5 of 8

UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 20-Be01 3 -CrR- MARR, [mM ATTHew Man

 

 

v. X _
CERTIFICATE OF TRIAL ATTORNEY*
DUSKO BRUER
Superseding Case Information:
Defendant. /
Court Division: (Select One) New defendant(s) Yes No

Miami __ Key West Number of new defendants

FIL cv WPB __ FIP Total number of counts

1, I have carefully considered the allegations of the indictment, the number of defendants, the number of

probable witnesses and the legal complexities of the Indictment/Information attached hereto.

2. I am aware that the information supplied on this statement will be reliéd upon by the Judges of this
Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial

Act, Title 28 U.S.C. Section 3161.

3. Interpreter: (YesorNo) No
List language and/or dialect

This case will take 0 _ days for the parties to try.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. Please check appropriate category and type of offense listed below:
(Check only one) (Check only one)
I 0 to 5 days v Petty
I 6 to 10 days Minor
Il 11 to 20 days . Misdem.
IV 21 to 60 days Felony Y
Vv 61 days and over
6. Has this case previously been filed in this District Court? (Yes or No) No _
If yes: Judge Case No.
(Attach copy of dispositive order)
Has a complaint been filed in this matter? (Yes or No) | No
If yes: Magistrate Case No.
Related miscellaneous numbers:
Defendant(s) in federal custody as of
Defendant(s) in state custody as of
Rule 20 from the District of
Is this a potential death penalty case? (Yes or No) No
7. Does this case originate from a matter pending in the Central Region of the U.S. Attorney’s Office
prior to August 9, 2013 (Mag. Judge Alicia O. Valle)? Yes No_¥
8. Does this case originate from a matter pending in the Northern Region U.S. Attorney’s Office
prior to August 8, 2014 (Mag. Judge Shaniek Maynard)? Yes No_v
( of WV. fo
Aurora Fagan

ASSISTANT UNITED STATES ATTORNEY
Florida Bar No./Court No. 188591

*Penalty Sheet(s) attached

REV 8/13/2018
Case 9:20-cr-80013-KAM Document 1 Entered on FLSD Docket 01/30/2020 Page 6 of 8

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA -

PENALTY SHEET

Defendant's Name: DUSKO BRUER
Case No: 20 - 8B O01 3-CR- MAeRA (MATTHEW MAR
Count #: 1

Attempt to evade or defeat tax
Title 26 U.S.C. § 7201

* Max.Penalty: up to 5 years of imprisonment; 3 year of supervised release; a $250,000 fine.

Count #: 2
Failure to file a report of foreign bank or financial account *
Title 31 U.S.C. § 5314 and 5322

* Max.Penalty: up to 5 yéars of imprisonment; 3 year of Supervised release; a $250,000 fine.
Case 9:20-cr-80013-KAM Document 1 Entered on FLSD Docket 01/30/2020 Page 7 of 8

~ UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NUMBER: RO- @Oo1 3-Ce-bt aera /MAaTTHEW Man

 

-BOND RECOMMENDATION
DEFENDANT: DUSKO BRUER

250k PsB- | : : .

(Personal Surety) (Corporate Surety) (Cash) (Pre-Trial Detention) |

By: : t MW x

AUSA: Aurora Fagan

 

Last Known Address:

 

 

 

What Facility:

 

 

Agent(s): Adam Tucker - IRS
(FBI) (SECRET SERVICE) (DEA) (IRS) (ICE) (OTHER)

 
Case 9:20-cr-80013-KAM Document 1 Entered on FLSD Docket 01/30/2020 Page 8 of 8

AO 455 (Rev. 01/09) Waiver of an Indictment

- UNITED STATES DISTRICT COURT

for the
Southern District of Florida

 

United States of America

ov, Case No.

DUSKO BRUER

 

20-8 0013-cR- N ARRA/ MATTHEW HAN

Defendant

WAIVER OF AN INDICTMENT

I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information. ,

Date:

 

Defendant’s signature

 

Signature of defendant’s attorney -

 

Printed name of defendant's attorney ~

 

Judge ’s signature

DAVE LEE BRANNON, U.S. MAGISTRATE JUDGE
oe Judge's printed name and title
